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Case 1:19-cr-02032-SMJ ECFNo.112 filed 09/27/19 PagelD.336 Page1of3

RICHARD A. SMITH, WSBA 15127
SMITH LAW FIRM

314 No. Second Street

Yakima, WA 98901

Telephone: 509-457-5108

Attorney for Defendant
Donovan Cloud

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
(Honorable Salvador Mendoza, Jr.)

UNITED STATES OF AMERICA, ?
. ) NO. 1:19-CR-02032-SMJ-2
Plaintiff, )
)
vs. ) PROPOSED CASE MANAGEMENT

) DEADLINES
DONOVAN CLOUD,
Defendant. )
)
)

 

 

 

TO: Clerk of U.S, District Court, Eastern District of Washington
TO: Thomas J. Hanlon, Assistant United States Attorney

Richard Burson, Assistant United States Attorney

COMES NOW DONOVAN CLOUD by and through his attorney of record,
Richard A. Smith of Smith Law Firm, and submits his Proposed Case Management

Deadlines for a trial date of April 27, 2020, as follows:

/fl
PROPOSED CASE MANAGEMENT DEADLINES SMITH LAW FIRM
~ Page 1 314 North Second Street

Yakima, WA 98901
(509) 457-5168
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Case 1:19-cr-02032-SMJ ECFNo.112 filed 09/27/19 PagelD.337 Page 2 of 3

 

PROPOSED DEADLINES

 

 

 

Deadline Date
Disclose all discovery January 16, 2020
Alibi Notices January 16, 2020

 

 

Rule 404(b) and 609 Notices

January 16, 2020

 

Rule 16 expert summaries (both parties)

January 23, 2020

 

All pretrial motions, including discovery motions,
Daubert motions, and motions in limine, filed

February 25, 2020

 

PRETRIAL CONFERENCE

March 17, 2020
9:30 a.m. in Yakima

 

C?’s identities and willingness to be interviewed
disclosed to Defendant (if applicable)

April 13, 2020

 

Grant jury transcripts disclosed to Defendant:
Case Agent
Cls (if applicable)
Other Witnesses

April 13, 2020
April 13, 2020
April 13, 2020

 

Exhibit lists filed and emailed to the Court

April 20, 2020

 

Witness lists filed and emailed to the Court

April 20, 2020

 

Trial briefs, jury instructions, verdict forms, and
requested voir dire filed and emailed to the Court

April 17, 2020

 

Exhibit binders delivered to parties and to the Court

April 17, 2020

 

Delivery of JERS-compatible digital evidence files to
the Courtroom Deputy

April 17, 2020

 

Trial notices filed with the Court

April 17, 2020

 

Technology readiness meeting (in-person)

April 20, 2020

 

JURY TRIAL

 

April 27, 2020

 

 

DATED this 27th day of September, 2019.
Presented by:

/s/ Richard A. Smith

RICHARD A. SMITH, WSBA 15127
Attorney for Defendant Donovan Cloud
314 North Second Street

Yakima, WA 98901

rasmith@house314.com; smithone@house3 14.com

PROPOSED CASE MANAGEMENT DEADLINES
~ Page 2

 

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Case 1:19-cr-02032-SMJ ECFNo. 112 _ filed 09/27/19 PagelD.338 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify under penalty of perjury of the laws of the State of Washington
that on September 27, 2019, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF System which will send notification of such filing to all
parties.

/s/ Lugene M. Borba
LUGENE M. BORBA
Legal Assistant, Smith Law Firm

PROPOSED CASE MANAGEMENT DEADLINES SMITH LAW FIRM
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